
87 N.Y.2d 1053 (1996)
In the Matter of The Estate of Helmut T. Rosenhain, Deceased. Gabriele Hammerstein, as Executor of Helmut T. Rosenhain, Deceased, Appellant; Irene Tannen et al., as Executors of Frederic M. Alberti, Deceased, Respondents.
Court of Appeals of the State of New York.
Submitted February 26, 1996.
Decided April 4, 1996.
Judge LEVINE taking no part.
Appeal, insofar as it is taken from that portion of the Appellate Division order which affirmed that portion of the Surrogate's Court order imposing sanctions, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that the remaining portion of the Appellate Division order appealed from does not finally determine the proceeding within the meaning of the Constitution.
